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January 8, 2021

VIA E-MAIL

Honorable Jon P. Cronan
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Coppa v. Heavy, Inc., No. 1:20-cv-02439-JPC


Dear Judge Cronan:

       We represent Plaintiff Edmund Coppa (“Plaintiff”) in the above-captioned case and write
pursuant to section 3.B of Your Honor’s Individual Practices to respectfully request a 30-day
extension of time for the parties to consummate their settlement.

   (1) The deadlines are as follows

        Event                         Original Deadline      Proposed Deadline
        File Stipulation of           January 11, 2021       February 10, 2021
        Dismissal

   (2) The parties request the extension to help facilitate potential resolution of the action
       without the need for further judicial intervention;

   (3) Plaintiff has not made a previous request for an adjournment;

   (4) No previous requests were granted or denied.

   (5) Defendant Heavy, Inc.. consents to the requested relief. The present request does not
       impact other scheduled dates.


                                                      Respectfully Submitted,
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                                                                             s/jameshfreeman/
                                                                             James H. Freeman

                                                                             Counsel for Plaintiff
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SO ORDERED.
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Date: January 8, 2021             JOHN P. CRONAN
      New York, New York          United States District Judge




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